   Case: 1:15-cr-00260 Document #: 264 Filed: 09/06/18 Page 1 of 2 PageID #:2273



                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
               v.                              )      No. 15 CR 260-2
                                               )
                                               )      Judge Jorge L. Alonso
RODERICK GROETZINGER                           )

                         PRELIMINARY ORDER OF FORFEITURE

        The United States asks this Court to issue a preliminary order of forfeiture pursuant to

Title 18, United States Code, Section 981(a)(1)(C), Title 28, United States Code, Section

2461(c), and Fed. R. Crim. P. 32.2.

        (a)    On May 5, 2015, an indictment was returned charging defendant RODERICK

GROETZINGER with wire fraud violations pursuant to the provisions of 18 U.S.C. § 1343. The

indictment sought forfeiture to the United States of certain property pursuant to the provisions of

18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c).

        (b)    On April 4, 2017, pursuant to Fed R. Crim. P. 11, defendant RODERICK

GROETZINGER entered a voluntary plea of guilty to Count Three of the indictment.

        (c)    Pursuant to the terms of his plea agreement, defendant RODERICK

GROETZINGER agreed that all right, title and interest that he may have in any property derived

from proceeds obtained, directly or indirectly, as a result of the offense of conviction is subject to

forfeiture.

        (d)    The United States requests that this Court enter a preliminary order of forfeiture

against defendant RODERICK GROETZINGER as to funds in the amount of $2,022,989,

because the property constitutes and is derived from the proceeds traceable to the offense of

conviction.
   Case: 1:15-cr-00260 Document #: 264 Filed: 09/06/18 Page 2 of 2 PageID #:2274



         (e)   Pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c) and Fed. R. Crim. P.

32.2, the United States requests that the terms and conditions of this preliminary order of

forfeiture be made part of the sentence imposed against defendant RODERICK GROETZINGER

and included in any judgment and commitment order entered in this case against him.

         Accordingly, it is hereby ORDERED, ADJUDGED and DECREED:

         1.    That, a judgment is entered against defendant RODERICK GROETZINGER in

the amount of $2,022,989. It is further ordered,

         2.    That, pursuant to the provisions of 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c)

and Fed. R. Crim. P. 32.2, all right, title, and interest defendant RODERICK GROETZINGER

may have in the $2,022,989 judgment is hereby forfeit to the United States of America or

disposition according to law. It is further ordered,

         3.    That, this court shall retain jurisdiction in this matter to take additional action and

enter further orders as necessary to implement and enforce this forfeiture order.



ENTERED:



9/6/18                                                 __________________________
                                                       JORGE L. ALONSO
                                                       United States District Judge
